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                           UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF FLORIDA
In re:
JORDANO MACIEL                                                       Case No.: 23-20677 LMI
       Debtor.                                                       Chapter 13
                                          /

      MOTION FOR AVOIDANCE OF JUDICIAL LIEN ON EXEMPT PROPERTY

       COMES NOW, the Debtor, JORDANO MACIEL, by and through undersigned counsel

herein files this their Motion pursuant to 11 U.S.C. Section 522(f) and 4003 for Avoidance of

Judicial Lien on Exempt property and in support thereof states as follows:

       1. On December 26, 2023, Debtor filed a case under Chapter 13 of the Bankruptcy Code.

       2.Amerant Bank, N.A. f/k/a Mercantil Comercebank, N.A., hereinafter “Creditor”, is an
unsecured creditor listed in Schedule F of the Petition.
       3. The Creditor holds a prepetition Final Judgment against Debtor in the case styled
Mercantil Commercebank, N.A. vs Jordano Maciel, et al., Miami Dade County Circuit Court,
Florida, case number 2022-015734-CA-01.
       4. The Final Judgment was titled and recorded on August 15, 2023, in the Public Records of
Miami Dade County, Florida, Official Records Book 33837 on page 2339. See attached Exhibit “A”.
       5. The Corrected Final Judgment was titled and recorded on October 3, 2023, in the Public
Records of Miami Dade County, Florida, Official Records Book 33909 on page 3578. See attached
Exhibit “A”.
       6. Debtor claimed his homestead as exempt property on Schedule C under Fla. Const.,
Article X Section 4 (a) (1) and the homestead is impaired by the Final Judgment.
       7. The physical description of Debtor’s homestead exempt property as listed in schedule C of
the Petition is 19830 NE 10th Pl, Miami, FL 33179 hereinafter “Property”, with a legal description as
follows:

       Lot 19, Block 11, Ives Estates Section One, a subdivision of according to the plat thereof recorded at Plat
       Book 57, Page 74, in the Public Records of Miami-Dade County, Florida.
       8. The Final Judgment impairs an exemption to which Debtor will otherwise be entitled
to under the Bankruptcy Code. See In re Bradlow, 119 Bankr. 330 (Bankr. S.D. Fla. 1990); In
re Calandriello, 107 Bankr. 374 (Bankr. M.D. Fla. 1989).
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       9. The Final Judgment was created and perfected after the homestead property was created.

       WHEREFORE, Debtor respectfully requests that this Court enter an Order Granting the

Motion to Avoid Judicial Lien declaring the Judgment null and void and whatever other relief it

deems just and reasonable.

       I HEREBY CERTIFY that I am admitted to the Bar of the United States District Court for

the Southern District of Florida, and I am in compliance with the additional qualifications to practice

in this court set forth in Local Rule 2090-1(A).

                                                       Law Offices of Samir Masri
                                                       901 Ponce de Leon Blvd., Suite 101
                                                       Coral Gables, FL 33134
                                                       Tel (305) 445-3422


                                                       By:    s/ Samir Masri
                                                             Samir Masri, Esquire
                                                             FBN: 145513
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                    EXHIBIT “A”
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